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 1                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
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 3       George DC Parker II, and
         Lori A Parker
 4
                              Plaintiff(s),              Case No. 3:23-cv-05069-RJB
 5             v.
                                                         MOTION FOR ENTRY OF
 6                                                       DEFAULT JUDGMENT
         THE SOCIETY FOR CREATIVE
         ANACHRONISM, INC., a/k/a/ "SCA"                 NOTED FOR MAY 22, 2023
 7       or "SCA, Inc.", et.al,

 8                            Defendant(s).

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10          Plaintiffs George DC Parker II, and Lori A Parker hereby moves that the court

11   grant a default judgement against defendants THE SOCIETY FOR CREATIVE

12   ANACHRONISM, INC., a/k/a/ "SCA" or "SCA, Inc.", et.al, pursuant to Federal Rule of

13   Civil Procedure 55(a).

14          In support of this request Plaintiffs relies upon the record in this case (Dkt. 9) and

15   the following facts:

16             1. George DC Parker II, and Lori A Parker, are the Plaintiffs in the above-

17                  entitled action and acting Pro Se.

18             2. The complaint was filed on 4/17/2023.

19             3. The summons was filed on 4/21/2023

20             4. Defendants have listed CT-Corporation, (agent) Diana Ruiz with the

21                  California Secretary of State as their Agent of Record to receive

22                  documents and court filings. (exhibit A)

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 1             5. Agent of Record was served with a copy of the summons and complaint

 2                 on 4/24/2023, as reflected on the docket sheet by the proof of service filed

 3                 on 5/12/2023 (dkt 15).

 4             6. An answer to the complaint was due on 5/15/2023.

 5             7. Defendants failed to appear, plead, or otherwise defend within the time

 6                 allowed pursuant to FRCP 55(a) LCR 55(a) and, therefore, are in default.

 7             8. DEFAULT ENTRY was entered by the Clerk on 5/18/2023 (dkt. 18)

 8             9. Plaintiffs filed a motion for default on 5/19/2023 (dkt 16)

 9             10. Defendants filed a notice of appearance on 5/19/2023 (dkt 20).

10             11. As of the filing of this motion, dated 5/23/2023, Defendants have further

11                 failed to state a defense or show cause for the failure to appear prior to

12                 the deadline pursuant to FRCP 55(a) LCR 55(a)

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14   Wherein these facts are not in dispute, Plaintiffs moves this court to grant the Motion for

15   Default Judgement and award all damages sought in complaint listed in dkt. 9, section

16   III, items a-z, including but not limited to, lifetime membership in the SCA for Plaintiff

17   George Parker and lifetime membership in the SCA for Lori Parker, an apology for and

18   reversal of the revocation & denial of membership (R&D) of Plaintiff George Parker as

19   well as monetary damages as follows:

20          Plaintiff’s loss of income, $1,500/month x 20 months = $30,000

21          Emotional Damages for Plaintiff George Parker, $30,000 x 2 = $60,000

22          Emotional Damages for Plaintiff Lori Parker, $30,000 x 2 = $60,000

23          Total damages = $150,000

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 1   Together with costs, interest, and punitive damages as deemed reasonable and prudent

 2   by The Court.

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 5   Dated: May 23rd, 2023

 6   Respectfully submitted,

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 8   George DC Parker II, and

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11   Lori A Parker

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     MOTION FOR ENTRY OF DEFAULT JUDGMENT- 3
